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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS —28]$ JUL -1 PM 2: 1h

DALLAS DIVISION
UNITED STATES OF AMERICA CPE BER erm

v. NO. 3:19-CR- 31%
SANJAY NANDA (01)

9-19CR-4318-K

FACTUAL RESUME
In support of Sanjay Nanda’s plea of guilty to the offense in Count One of the
Information, Nanda, the defendant, Robert R. Smith, the defendant’s attorney, and the
United States of America (the government) stipulate and agree to the following:
ELEMENTS OF THE OFFENSE
To prove the offense alleged in Count One of the Information, charging a violation
of 18 U.S.C. § 1343, that is, Wire Fraud, the government must prove each of the
following elements beyond a reasonable doubt:!
First: That the defendant knowingly devised or intended to devise
any scheme to defraud, that is, a scheme to defraud Sabre
Corporation of money and property through the submission of

invoices falsely and fraudulently claiming payment for
services rendered by Sadak Ventures, LLC;

Second: That the scheme to defraud employed false material pretenses
and representations;
Third: The defendant transmitted or caused to be transmitted by way

of wire communications, in interstate and foreign commerce,
writings, signs, and signals, or the purpose of executing such
scheme; and

 

1 Fifth Circuit Pattern Jury Instruction 2.57 (Sth Cir. 2015).
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Fourth: The defendant acted with a specific intent to defraud.

STIPULATED FACTS

On or about September 1 1, 2015, in the Dallas Division of the Northern District of
Texas, and elsewhere, the defendant, Sanjay Nanda, for the purpose of executing and
carrying out a scheme and artifice to defraud, and for obtaining money and property by
means of false material and fraudulent pretenses, representations, and promises, and
attempting to do so, did knowingly, and with intent to defraud, cause to be transmitted in
interstate commerce by means of wire and radio communication, certain writings, signs,
signals and sounds, specifically, instructions to pay $249,900.00 to a Wells Fargo Bank
account in the name of Sadak LLC, originating from a computer located in Southlake,
Texas, on or about this date, and sent to an e-mail account hosted on a server in
Oklahoma.

Specifically, during the period September 2011 through October 2015, Sabre
GLBL, Inc. (“Sabre”) was in the business of developing and selling technology-based
products and services to the global travel industry. Sabre’s global headquarters was
located at 3150 Sabre Drive, Southlake, Texas, in the Northern District of Texas.

During this time period, Sabre processed payments to vendors using an enterprise
application hosted on a server situated in Oklahoma. From on or about July 8, 2010, to
on or about October 17, 2015, the defendant, Sanjay Nanda (“Nanda”), was employed by

Sabre as Senior Vice-President of Airline Solutions. In this position, Nanda had the

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authority to hire consultants and to approve invoices for payment. Nanda’s office was
located at Sabre’s headquarters; he resided in Irving, Texas.

Prior to December 2011, Nanda had opened up Advantage Business Checking
Account No. xxxxxx7489 at a Wells Fargo Bank branch located in Georgia. Nanda was
the sole signatory on the account.

The object of Nanda’s scheme was to embezzle money from Sabre by creating
invoices from a fictitious vendor called Sadak Ventures, LLC, for consulting services that
were never performed for or on behalf of Sabre, and then submitting the fictitious
invoices to Sabre for payment, causing the company financial system to issue
unauthorized payments that were wired to an account under Nanda’s control, and to use
the embezzled money for personal expenses.

In or about February 2005, Nanda registered Sadak Ventures LLC as a company in
Georgia. In or about June 2010, Nanda paid back taxes owed by the company and
petitioned the Georgia Secretary of State to reinstate the company. Nanda also used the e-

mail address “sadak.gxxxxe@gmail.com for the purpose of executing the scheme.

 

Additionally, with the intent to further the fraud scheme, Nanda created a Master
Professional Services Agreement between Sabre and Sadak LLC under the terms of
which Sadak agreed to perform various consulting services for Sabre in return for
payment. Nanda signed the contract on behalf of Sabre, and signed the contract as
“V.G.,” purporting to be a principal of Sadak.

Starting on or about September 1, 2011, and continuing through on or about

September 30, 2015, Nanda created false and fictitious Sadak invoices claiming the

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company performed consulting services work for Sabre during a specified period of time,
and requesting payment of a designated amount for that work. Nanda created the false
invoices at his residence in Irving, Texas, and then hand- delivered them to Sabre
employees, knowing and intending that the employees would submit the invoices for
payment. Without authorization and contrary to the best interests of Sabre, Nanda
approved the false and fictitious invoices for payment, attesting that they were authentic,
valid invoices for work performed by Sadak. Nanda approved the Sadak invoices for
payment in the same manner he approved valid, authentic invoices, intending to mislead
any Sabre employees or agents reviewing the company financial records into believing
that the Sadak invoices weres authentic. Nanda further admits that he concealed
material information from Sabre officials and employees, specifically, that he had
created, submitted, and approved for payment false and fraudulent invoices in the name
of Sadak, and that he registered and controlled Sadak.

After approving the invoices, Nanda submitted or caused other Sabre employees
located at Sabre headquarters to submit the approved invoices by e-mail to an e-mail
account associated with the company’s Accounts Payable (“AP”) Department. Nanda
concedes and does not dispute that the government can prove the e-mails submitting the
approved invoices traveled from the computers located in the Northern District of Texas
to an AP e-mail account hosted on a server located in Oklahoma. Nanda sent the
invoices, or caused the invoices to be sent, knowing and intending that when they were
received in the AP account, Sabre employees, in the normal course of business, would

enter the pertinent invoice data into the company’s enterprise payment application; and

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knowing and intending that once entered into this application, payment in the form of a
check (payable to Sadak LLC) or an ACH payment (routed to Wells Fargo Account No.
XXXXXX7489), would issue approximately one to two weeks later from a Sabre bank
account.

Nanda further admits and concedes that (1) on or about August 11, 2015 he
created at his Irving residence Sadak Invoice No. 960 claiming $249,900.00 for
consulting services performed by Sadak for Sabre between July 16, 2015, and August 11,
2015; (2) he hand-carried this invoice from his residence to his office in Sabre
headquarters; (3) on or about September 11, 2015, he approved the invoice for payment,
knowing at the time that it was false and fictitious and claimed payment for work that
was never done; (4) to have the invoice paid, he sent or caused others to send an e-mail
containing the invoice from a computer at Sabre headquarters to the AP e-mail account
hosted on a server in Oklahoma; and (5) on or about September 16, 2015, $249,900.00
was wired from a Sabre bank account to Wells Fargo Bank Account No. xxxxxx7489.

Nanda agrees that he committed all the essential elements of the offense. This
factual resume is not intended to be a complete accounting of all the facts and events
related to the offense charged in this case. The limited purpose of this statement of facts
is to demonstrate that a factual basis exists to support his guilty plea to Count One of the

Information.

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AGREED TO AND SIGNED nig?e day of May-2019.

Supp

SANJAY NANDA
Defendant

 

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Attdrmey for Defendant

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